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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

United States of America,                        )             C/A No. 3:19-2094-PJG
                                                 )
                              Plaintiff,         )
                                                 )
       v.                                        )
                                                 )
46,740 dollars in United States Currency,        )                    ORDER
                                                 )
                              Defendant.         )
                                                 )
Collette Pinkard,                                )
                                                 )
                              Claimant.          )
                                                 )

       The United States filed a Complaint in this civil forfeiture action on July 26, 2019. (ECF

No. 1.) Claimant Collette Pinkard, proceeding without counsel, has responded with a claim and

answer, asserting an ownership interest in the subject property. (ECF Nos. 8 & 29.)

       The United States now moves to compel Pinkard’s responses to the Government’s first set

of requests for production. (ECF No. 60.) The requests for production generally seek Pinkard’s

financial records, including Pinkard’s recent tax returns and documents related to the property

seized in this case. (ECF No. 60-1 at 3.) The United States served the requests for production on

Pinkard in August 2020 and Pinkard’s responses were due on September 28, 2020. Pinkard did

not respond by that deadline and the United States sent Pinkard a letter asking that she respond by

October 9, 2020. The United States asserts that it has yet to receive any responses from Pinkard

to its requests for production or its letter.    Pinkard filed a response in opposition to the




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Government’s motion that is mostly unresponsive to the Government’s motion to compel,1 but

Pinkard states that she has “filed and entered copies of tax returns, bank statements, statements to

support Tessas Kitchen and claim to 46,740.00.” (ECF No. 62 at 2.) Attached to Pinkard’s

response is what appears to be one page of a four-page credit card statement from 2018 (ECF No.

62-1 at 10) and mailing instructions from Pinkard’s tax preparer for Pinkard’s 2019 federal tax

return (ECF No. 62-1 at 12).

       Rule 34(b) requires that:

       The party to whom the request is directed must respond in writing within 30 days
       after being served . . . . For each item or category, the response must either state
       that inspection and related activities will be permitted as requested or state with
       specificity the grounds for objecting to the request, including the reasons. . . . An
       objection must state whether any responsive materials are being withheld on the
       basis of that objection. An objection to part of a request must specify the part and
       permit inspection of the rest.
Fed. R. Civ. P. 34(b)(2). “The purpose of Rule 34 is to make relevant and nonprivileged

documents, electronically stored information, and objects in the possession of one party available

to the other, thus eliminating strategic surprise and permitting the issues to be simplified and the

trial to be expedited.” 8B Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure

§ 2202 (3d ed. 2020).

       Here, Pinkard has not properly responded to the Government’s request for production

under Rule 34 because she has not specifically responded to each of the Government’s requests

and informed the United States whether she intends to produce the documents, object to the

request, or move for a protective order. To the extent the documents attached to Pinkard’s response

are responsive to the Government’s request, Pinkard must explain so in writing. Pinkard is ordered


       1
         The response is partially captioned as a “motion to enforce judgment in favor of
claimant.” As explained by the United States in its response, because the court has not yet entered
a judgment in this case, there is no judgment to enforce. Pinkard’s motion is denied. (ECF No.
62.)
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to respond to each specific request for production, in writing, stating specifically whether Pinkard

can and will provide the documents to the United States, and if not, specifically state her reasons

for objecting to the Government’s requests. Alternatively, Pinkard may seek an order of protection

under Federal Rule of Civil Procedure 26(c).2 However, failure to respond to the Government’s

request for production or move for a protective order may result in sanctions. See Fed. R. Civ. P.

37(d)(1)(A)(ii) (providing that the court may order sanctions if a party fails to serve its answers,

objections, or written response to requests for production under Rule 34). Accordingly, the

Government’s motion to compel (ECF No. 60) is granted. Pinkard is ordered to file her responses,

as detailed above, on or before November 27, 2020.

       IT IS SO ORDERED.

                                              __________________________________________
November 5, 2020                              Paige J. Gossett
Columbia, South Carolina                      UNITED STATES MAGISTRATE JUDGE




       2
         “A party or any person from whom discovery is sought may move for a protective order
. . . . The motion must include a certification that the movant has in good faith conferred or
attempted to confer with other affected parties in an effort to resolve the dispute without court
action. The court may, for good cause, issue an order to protect a party or person from annoyance,
embarrassment, oppression, or undue burden or expense . . . .” Fed. R. Civ. P. 26(c)(1).
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